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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CHRISTOPHER KELLY, individual and on Civil Action No.
behalf of all others similarly situated,

Plaintiff,
v.

VERIZON PENNSYLVANIA, LLC,
VERIZON ONLINE PENNSYLVANIA
PARTNERSHIP, and VERIZON
PENNSYLVANIA,

Defendants.

 

 

NOTICE OF REM`OVAL

Defendants Verizon Pennsylvania, LLC and Verizon Online LLC (as successor to
Verizon Online Pennsylvania Partnership) (collectively, “Verizon”), pursuant to
28 U.S.C. § l44l, hereby remove this action to this Court from the Court of Common Pleas of
Philadelphia County. This action is Within the original jurisdiction of this Court and properly
removed based on the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332, 1446,
and 1453. Pursuant to 28 U.S.C. § l446(d), copies of this Notice of Removal Will be served
upon counsel for Plaintiff Christopher Kelly (“Plaintiff’) and filed With the Offlce of Judicial
Records of the Court of Common Pleas for the County of Philadelphia, as an exhibit to a Notice
to State Court of Removal to F ederal Court.

l’R()CEDURAL I-l`ISTORY ANI) TIMELINESS OF REMOVAL

1. On September 28, 2016, Plaintiff commenced this action by filing a putative class

action Complaint against Verizon Pennsylvania, LLC, Verizon Online Pennsylvania Partnership,

and “Verizon Pennsylvania” (collectively, “Defendants”) in the Court of Common Pleas for

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Philadelphia County, captioned Christopher Kelly v. Verizon Pennsylvania, LLC, et al. , Case No.
1 6-0903 521 .

2. Verizon Pennsylvania, LLC received a copy of the Complaint on October 4, 2016.
Verizon Online LLC received a copy of the Complaint on October 3, 2016. The Complaint is the
initial pleading setting forth the claim for relief upon Which this action is based. Accordingly,
this Notice is timely pursuant to 28 U.S.C. § 1446(b). Pursuant to 28 U.S.C. § 1446(a), true and
correct copies of all process, pleadings, and orders served upon VeriZon in this action are
attached to this Notice as Exhibit A.

3. The Court of Common Pleas for the County of Philadelphia is located Within the
Eastern District of Pennsylvania 28 U.S.C. § 110. This Notice of Removal is therefore properly
filed in this Court pursuant to 28 U.S.C. § l44l(a).

ALLEGATIONS OF TI-IE COMPLA[NT

4. This is a putative class action on behalf of Plaintiff and other customers of Verizon.

5. Plaintiff alleges, inter alia, that Verizon “required” its customers to lease multiple
“set-top boxes” to utilize FiOS Quantum programing on multiple televisions but that more than
one set-top box is not technologically required in order to access FiOS Quantum programing on
multiple televisions, and that Verizon does not disclose to its customers the alleged availability of
third-party alternatives to leasing Verizon set-top boxes. (Cornpl. 1111 2-8);

6. Plaintiff seeks to represent the following putative class: “All Pennsylvania residents
Who are current or former customers of Defendant Verizon, Who purchased FiOS with Quantum,
and Who have paid rental charges for the use of more than one so-called ‘set-top’ box to

Defendant Verizon at any time from September 2011 to the present.” (Ia'. 11 58.)

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7. On behalf of Plaintiff and the putative class, the Complaint attempts to state claims
for: (1) violations of the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73
Pa. Stat. § 201-1, et seq. (“UTPCPL”); and (2) injunctive relief. (Id. 1]1[ 65-81.)

8. The Complaint seeks, inter alia, (i) “actual and statutory damages for each instance
of unfair or deceptive conduct, including, but not limited to, each instance when Verizon
obfuscated the availability of third-party equipment alternatives to Verizon’s set-top boxes,
and/or improperly required Plaintiff and the class to lease multiple set-top boxes”; (2) declaratory
and injunctive relief; (3) an accounting; (4) treble damages; (5) attorneys’ fees and costs; and (6)
interest. (Id. at pp. 26, 29.)

9. Verizon disputes Plaintiff’s allegations, denies that the Complaint has merit, denies
that the Class is certifiable, and denies that Plaintiff or the putative class has been harmed in any
way.

BASIS F()R REMOVAL

10. This action is within the original jurisdiction of this Court, and removal is proper
under the Class Action Fairness Act of 2005, 28 U.S.C. § l332(d), which grants district courts
original jurisdiction over putative class actions, involving over 100 putative class members,
where any member of the putative class of plaintiffs is a citizen of a State different from any
Defendant, and in which the amount in controversy in the aggregate exceeds $5 million. As set
forth below, this action satisfies each of the requirements of § 1332(d)(2) for original jurisdiction
under CAFA.

Putative Class Action.

11. This action meets the CAFA definition of` a class action, which is “any civil action
filed under rule 23 of the Federal Rules of Civil Procedure or similar State statute or rule of

judicial procedure.” 28 U.S.C. §§ 1332(d)(1)(B), 1453(a) & (b). Plaintiff seeks certification of a
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class under Pa.R.C.P. 1701, et seq., Pennsylvania’s analog to Fed. R. Civ. P. 23. (See Compl.

1[ 57.)
Class Consisting of Morc tllal_l_lll{} Members.

12. Verizon Pennsylvania, LLC has charged more than 100 customers for multiple set-
top boxes in connection with residential FiOS Quantum services in Pennsylvania In fact,
according to Verizon Pennsylvania, LLC’s records, during a portion of the claimed class period,l
approximately 139,827 customers leased more than one set-top box in connection with their
residential FiOS Quantum services in Pennsylvania Accordingly, the aggregate number of

members of the proposed class is greater than 100 persons for purposes of 28 U.S.C.
§ 1332(d)(5)(B).

CAFA l)iversity.
13. The required diversity of citizenship under CAFA is satisfied because “any

member of a class of Plaintiffs is a citizen of a State different from any Defendant.”
28 U.S.C. § 1332(d)(2)(A).

14. Defendant Verizon Pennsylvania, LLC is a Delaware limited liability company,
and its sole member is Verizon Communications Inc. Verizon Communications Inc. is a
Delaware corporation with its principal place of business in New York. Accordingly, Defendant
Verizon Pennsylvania, LLC is a citizen of Delaware and New York.

15. Defendant Verizon Online Pennsylvania Partnership was merged into Verizon

Online LLC in June 2013 and ceased to exist as of that date.2 Verizon Online LLC, the surviving

 

l The putative class period runs from September 201 1 to the present (Compl., 1[ 58)_. but
the services at issue, FiOS Quantum, have only been commercially available since mid-2014
The information presented in this paragraph is based on data available from June 2015 to

September 2016.

2 Verizon reserves the right to challenge the way in which Plaintiff has identified the
various defendants and Plaintiff’s inclusion of improper parties as defendants
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entity, is a Delaware limited liability company, and its sole member is GTE Wireless LLC. GTE
Wireless LLC is a Delaware limited liability company and its members are Verizon
Communications Inc., NYNEX LLC, and Verizon Ventures LLC. NYNEX LLC is a Delaware
limited liability company, and its sole member is Verizon Communications lnc. Verizon
Ventures LLC is a Delaware limited liability company, and its sole member is Verizon
Communications Inc. As noted above, Verizon Communications, Inc. is a Delaware corporation
with its principal place of business in New York. Accordingly, Verizon Online LLC (as
successor to Defendant Verizon Online Pennsylvania Partnership) is a citizen of Delaware and

New York.

16. A diligent search of Verizon’s affiliated corporate records confirms that no

unincorporated business entity called “Verizon Pennsylvania” exists, nor has ever existed, within

the Verizon corporate Structure. Because “Verizon Pennsylvania” is not an existing entity, it has
no effect on the diversity jurisdiction of this Court. See, e. g., Davis v. OneBeacon Ins. Grp., 721
F. Supp. 2d 329, 337 (D.N.J. 2010) (“[A] defendant that is a non-existent business entity is not
required to join in or consent to the removal of a case, nor is the citizenship of the non-existent
entity considered for purposes of complete diversity of citizenship.”) (quoting Newsom v.
Caliber Auto Transfer of St. Louis, Inc., 2009 WL 4506298, *2, (S.D.Ill. Nov. 26, 2009)); Taylor
v. Pz`ggly Wiggly ofBay Minette, Ala., No. 12-cv-0320-W, 2012 WL 3555576, *3 (S.D. Ala.
Aug. 16, 2012) (“the naming of a nonexistent entity cannot destroy diversity.”); see also

Bernsten v. Balli Steel, PLC, No. 08-cv-62, 2008 WL 862470, *6 (E.D. Pa. l\/Iar. 31, 2008) (non-

existent alleged joint venture did not need to join in removal application).
17. Upon information and belief, the Plaintiff is a citizen of Pennsylvania

18. Along with other members of the alleged putative class, Plaintiff is not a citizen of

the same states as Verizon. Accordingly, at least one proposed class member (Plaintiff) is a
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citizen of a state different from a defendant, thus satisfying the minimal diversity requirements of

28 U.s.C. § izzz(d)(z)(A).

Amount in Cm_\troversy.

19. Under CAFA, the claims of the individual class members are aggregated to
determine if the amount in controversy exceeds the required “sum or value of $5,000,000,
exclusive of interest and costs.” 28 U.S.C. §§ 1332(d)(2), (d)(6). Without conceding any merit
to the Complaint’s allegations or causes of action, the amount in controversy satisfies this
jurisdictional threshold because under Plaintiff’ s theories of recovery the amount in controversy
exceeds $5 million.

20. The Complaint alleges that, “[a]t all times relevant hereto, Verizon charges a
monthly leasing fee in connection with [set-top boxes] that ranges from $9.99 to $12.00” and
that “Verizon currently charges $12.00 per month for a customer’s first set-top box, and $10.00
per month for each additional box.” (Compl., 1111 22, 36.)

21. Plaintiff further alleges that, “[s]ince his service contract began in August 2014,
Plaintiff consistently has been charged $19.98 every month for the two set-top boxes. . . . After
approximately two years of service, Plaintiff has paid a total of $479.52 in lease charges, alone,

for the two set-top boxes.” (Ia'. at 111[ 49-50.)

22. Plaintiff further alleges that his claim is “typical” of the putative class members’
claims. (Id. at 11 60.)

23. According to Verizon Pennsylvania, LLC’S records, during the period December
2015 through September 2016 (a portion of the putative class period), Verizon Pennsylvania,
LLC leased approximately 2,870,014 additional set-top boxes (excluding the first set top box),

month over month, associated with FiOS Quantum services at Pennsylvania residences. Because

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Plaintiff alleges that customers were charged $10.00 per month for each additional set top box
(Compl., 1111 22, 36), the amount in controversy exceeds approximately $28,700,140.

24. Plaintiff asserts a claim under the UTPCPL, which permits recovery of treble
damages and attorneys’ fees. 73 Pa. Stat. § 201-9.2.

25. Accordingly, the amount in controversy exceeds the $5 million threshold.

26. Plaintiff also seeks “a declaration that Verizon has violated - and continues to
violate - Pennsylvania law, including, but not limited to, the UTPCPL” (Compl., 1[ 80) and
injunctive relief “to remedy Verizon’s violations of the UTCPL [sic].” (Ia'.' at p. 29.) The value
of this relief also counts towards the amount in controversy. See Spock v. David, 469 F.2d 1047,
1052 (3d Cir. 1972) (“In cases where there is no adequate remedy at law, the measure of
jurisdiction is the value of the right sought to be protected by injunctive relief’).

27. For purposes of removal “the question is not what damages the Plaintiff will
recover, but what amount is ‘in controversy’ between the parties.”’ Brz`ll v. Countrywide Home
Loans, Inc., 427 F.3d 446, 448 (7th Cir. 2005) (“That the Plaintiff may fail in its proof, and the
judgment be less than the threshold (indeed, a good chance that the Plaintiff will fail and the
judgment will be zero) does not prevent removal.”). While Verizon disputes that it is liable to
Plaintiff or the putative class, or that Plaintiff or the putative class suffered any injury or incurred
damages in any amount whatsoever, or that any class is certifiable, for purposes of satisfying the

jurisdictional prerequisites of CAFA, the matter in controversy exceeds 35 million.

No Joindcr Necessall.
28. Defendants Verizon Pennsylvania, LLC and Verizon Online LLC jointly file this
notice of removal. The other named defendant, “Verizon Pennsylvania” (which does not exist),

is not required to consent to removal based on CAFA. See 28 U.S.C. § 1453(b) (“A class action .

. . may be removed by any defendant without the consent of all defendants.”).
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RESERVATION OF RlGI-ITS AND DEFENSES
29. By filing this Notice of Removal, Verizon does not waive any defenses that may be
available to it and reserves all such defenses. In addition, Verizon does not waive its right to
compel arbitration of this dispute pursuant to the parties’ contract, nor does Verizon concede that
plaintiff states any claim upon which relief can be granted, or that plaintiff is entitled to any
relief of any nature. Nonetheless, Plaintiffs claims, as pleaded in the Complaint at the time of
removal, “whether well or ill founded in fact, fixes the right of the defendant to remove.” St.

Paul Mercury Ina'em. Co. v. Red Cab C0., 202 U.S. 283, 294 (1938).

30. If any challenges to the propriety of the removal of this action arise, Verizon

respectfully requests the opportunity to present oral argument.

WHEREFORE, Verizon hereby removes this Action to this Court from the Court of

____-_-

Common Pleas for the County of Philadelphia
/ Q/L£

/s/ ""
Brian T. Feeney

GREENBERG TRAURIG, LLP
2700 Two Commerce Square
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Philadelphia, PA 19103

-and-

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Eric D. Wong

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(973) 301-8410 (fax)

Attorneys for Defendants

Verizon Pennsylvania, LLC and

Verizon Online LLC (as successor to Verizon
Online Pennsylvania Partnership)

Dated: October 31, 2016

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CERTIFICATE OF SERVICE

I, Bradly A. Nankerville, hereby certify that on this 31st day of October, 2016, I served a

true and correct copy of the foregoing Notice of Removal on all counsel of record via UPS

Overnight.

z§~j adam

Bradly A. N ville

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EXHIBIT A

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Kindly enter my appearance on behalf of Plaintiff/Pctilioncr/Appellnnt: CHRISTOPHBR KELLY
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Sol._ H. WL-:Iss, ESQUIRE (No. 15925)

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DEFENDANTS.

ATmRNEYs FoR THE PLAIN'HFF
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CLASS ACTION COMPlAIN'f

Case ID: 16090352]

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Plaintiff, Christopher Kelly, individually and on.behalf of all others similarly
situated, by and through h`is attorneys, Anapol Weiss, alleges as -follows upon personal '
knowledge astto himself and his own acts and exporiences, and as to all other matters,
upon information and belief', including' investigation conducted by his attorneys

IH:I§RODUC'I'ION l

1.` ' Defenth Verizon Pennsylvania, LLC, is a limited liability corporation
organized and existing under the la`ws of the State of Delaware, while Defendants
Verizon .Online Pennsylvania Partnership, and Verizon Pennsylvania (collectively, .
"Verizon”), are unincorporated business entities organized under the laws of
Pennsylvania . Verizon is a leading provider of television programming-known
commercially as “FiOS”-to customers across l']ie country, including Pennsylvanial As of
February 2016, FiOS is the largest provider oi fiber optic broadhead in the U.S.,
servicing some 31.6 million people. §'ee, e.g., Verizon FiOS, BROADBANDNOW, available ' '
at hgp_:llwww.broadbandnow.com£Ygiagn-Eig _ (last visited Sopt. 20, 2016).
Pennsylvania is one of verizon’s largest coverage areas, with service available across 88
percent of the Commonwealth. See, e.g., Nick Reese, Pennsylvania’s Broadband: Stats
&Figures, BROADBANDNOW, (July 19, 2016), httg: f Zbrgadbandnogv. com{Pgnn§ylv_ania` .

2. Verizon requires its FiO_S customers to lease a "sct-top” box for each
television to be connected to'Ve.rizon's broadban`d network Verizon’s FiOS customers
are assessed recurring fees for the use of these devices, which range in price from $9.99
to $12.00 per month (in addition to the cost of FiOS service).

`3.' Tltcse devices provide an “input’; colrnec|jon for a FiOS cable line and an

“output” connection to a customer’s television. Verizon requires its customers to utilize

2

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a separate box for each and gregg television connected to the FiOS networlc. Allegedly,
these devices are required to facilitate various functic`)'ns,¢ such as'decoding broadband
signals, accessing on-dernand content ("ODC”), ~or~ utilizing "digital video recorder”
_ ("DVR”) functions
4. In addition to‘basic FiOS service, Verizon also offers a "FiOS Quantum TV”
(”Quantum”), a premium service with increased functionality In particulor, Quantum
customers have access to the "FiOS Mobile App” (“the application”) that allows
Quantum customers to access FiOS service via properly equipped digital devices (i.e.,
“smart” televisions, "smait” cellular phones, tablets, and computers). The application
permits Verizon’s customers to access live-TV programming QDC, and DVR functions
via digital devices that are not connected to a Verizon sgt-top §g;g. Rathe_r, these devices
access FiOS content by connecting directly to the Internet. See, c.g., FiOS Quantum I_('V,
Verizon, hg];¢lmmv.yerizgg.cgnr(l_rg;,r_r;g[MLB{QTV.html flast visited Sept. 26, 2016)
A("St.ream shows from your DVR, live TV, and select On De:mand titles to your
compatible mobile device with the [FiOS] Mobile app. You can even manage recordings

and_setting from your smartphone or any internet~connected computer.”):

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With Ftos Quantum TV,you can move from one room to another and '“`"" """"“'" `
device to device without mlsslng anytlitng. Pnuso. play ind rcwtnd l
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5. In addition to permitting Quantum_customers to view content, primarily,
many of these mobile devices are also capable of "exporting” the application to
secondary mediums. For example, computers are capable of “projccting” their deslctop
screen onto many (if not most) televisions through the use of standardized digital
connectors Othcr third-party devices discussed further, inj$'a, also offer alternatives to
the use of a set-top box. Therefore, customers utilizing the application lor, more
generally, the intcrnet are capable of viewing l"iOS content without the use of a device
directly connected to a'sct-top box.

6. l\lotrvithstanding the accessibility of the application.and other "th`ird-party

equipment alternatives,”_1 Verizon deceives and confuses its Quantum customers by

 

1 The phrase "l'hird¢pa.rty equipment ulternatlvesi’ is used throughout this complaint, broadly, to refer_to
thc various set-top box substitutes available to Quantum customers Thcsc workarounds include, but are
not limited to: (1] through the use of a “digital media strcaming device” thnt.is directly connected to n
television (c,g,, the Itolcu Streaming Stielr, thc Amnaon Fire TV Sticlr, the G_ooglc Chrornecast); (a] through
tile use of nn application that is strcumed directly to properly equipped “sma'rt" televisions (e.g.,`the
application deceased directly from a "smart" bclevisionl; and {3] through the use of an application that is
su*carned to a properly equipped digital device (s uch as a laptop computer utilizing the application ortho

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remaining silent regarding the availability of set-top box alternatives lastead, Verizon
deceptiver claims that a set-top box connection i_s required to view content on ah of its
customers' television sets. Verizon’s predatory claims regarding the alleged
functionality of its set-top boxes are at-odds with technological reality and Verizon’s
legal duties to the Commonwealth’s consumers

7. In violation of the Pennsylvania Unfair 'i‘rade Practices and Consumer
Protection Law ("UTPCPL”), 73 P.S. §§ 201-1, ct seq., Verizon has deceived and confused
its Quantum customers into leasing multiple set-top boxes in order to access IinS on
multiple televisions 2

8. Verizon’s deceptive and confusing communications regarding the
functionality of its set-top boxes, and the monthly fees that it has assessed Quantum
customers, constitute illegal conduct under the laws of the Commonwea]th.

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9. Plaintiff has commenced this action pursuant to the “unlimited original
jurisdiction” `of the Pennsylvania Coucts o'f Common Plcas. See, e.g., 42 Pa.C.S. § 931(a).

10. Verizon regularly and systematically conductsl business within
Pennsylvania and pers onalljuri`sdicti_on is, therefore, properly exelcised over Defendant

11. lThis Honorable Court is a proper venue pursuant to Pa.R.Civ.P. 10'06.

Verizon regularly and systematically conducts business in Philadelphia County, a

 

internet) that is then projected onto a television through the use of standardized digital connectors. See
also, e.g., in_fi'a at l|ll 36-41`.

.“ Evcn assuming, arguendo, that technological aspects of FiOS functionality requires customers to
maintain a single sct~top box, Verizon’s Quantur_n customers._can access the full suits of FiOS content
(including thc ability to view that content on a television) without the use of multiple set-top boxes
Plaintiff does mg concede that a single set-top box is, in fact, required to access FiOS content llowever,
to the extent that a single set-top box may be necessary to effectuate various FiOS functions, Plaintiff
avers that requiring Quanlu`m customers to lease a act-top box for each and every_tclcvision to be
connected to FiOS'is technologically redundant and commercially dcccpl:ivc. -

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substantial part of the events giving rise to Plaintist claims occurred in Philadelphia
County.
IH_EPARTIES

12._ Plaintiff, Christopher Kelly, is ann-adult who resides at 620 Gorgas Lan'e,
Philadelphia, Pennsylvania,

' 13. Since at least August 2014, Plaintiff has been and currently is a Quant\im
customer of Verizon, and has been leasing two (2) set»top boxes from the Defendant

14. ljet`endant, Verizon Pennsylvania, LLC, is a limited liability corporation
organized and existing under the laws of the state of Delaware with its service address
listed. as c/o Cl‘ ` Corporati'on System, 116 Pine Street, Suite §20, I-Iarrisburg,
Pen nsylvania 17101.

15. Defendant, Verizon Online Pennsylvania Partnership, is a partnership and
miincorporated business entity organized and existing'und.er the laws of Pennsylvania,
with a registered address of: 1095 Avenue of the Americas, New York, NY 19036. The
partnership has two owners of record: (1) Verizon North, Inc. (now known as “Frontier
North, Inc.”), a business corporation incorporated in Wisconsin whose registered
address is: 3 High Ride Park, Sta'mford, CT 06905-1337; and (2) Verizon Pennsylvania,
Inc., a business corporation incorporated m Pennsylvania, with a registered address of:
c/o CT Corporation, Two Commerce Square,' 2001 Market Street, 51h Floor,
Philadelphia, PA 19103.

n 16. Defendant, Verizon_ Pennsylvania, is an unincorporated business entity
organized and existing under the _laws of Pennsylvania whose registered address is: 1717

Aieh Street, Philadelphia, PA 191_03. The entity has one owner of record: Bell Atlant_ic'

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Pennsylvania, Inc., whicli` is a previous corporate name of "Verizon Pennsylvania, I_nc.,”

(previously described above as an owner of Veiizon Online Pennsylvania Partnership) a

business corporation incorporated' in Pennsylvania, with a registered address of: c/o C’I‘

Corporan'on, Two Commerce Square, 2001 Market Street, 5"§ Floor, Philadelphia, PA
19103.

v 17. For the sake of brevity and clarity, these entities are referred to,

collectively, as “Verizon” throughout this complaint

18. Upon information and belief, at all times relevant hereto, Verizon was
acting individually, jointly, and/or by and through its agents, servants, franchisees,
worltmen, and/ or employees

19. Upon information and belief, Verizon provides broadband cable services,
including high-speed Iiiternet service and ilber-to-tlie~premises services under the
"FiOS” service mark for both residential and commercial customers

'20. Upon information and beiief, Verizon provides services across the
Commonwealth, including,' but not limited to, Philadelphia Co`unty.

21; Upon information and belief, at all relevant times hereto, throughout the
instant class period, and continuing until today, Verizon has been the service provider
'for all of the aforementioned F_iOS services in the Conimonwealtb, including, but not
limited to, Quantum,

22. Upon information and belief, Verizon also acts as the lessor of the
aforementioned "set~top" boxes. At all times relevant hereto, Verizon charges a monthly
leasing fee in connection with these devices that ranges from $9.99 to $12`.00. This _

recurring charge appears as an item that is identified as "TV Equipment Package” on

._"~

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.Plaintiif’s documentation from Verizon See,_ e. g. ., Plaintist August 2016 and
September 2016 Verizon bills, including respective charges for renting two set-top boxes
totaling $19. 98, true and correct copies of which are attached hereto, made a part
hereof, and collectively marked Exhibit" ”

FA C GRO
leasing of “Set-fl'_r,;"p” Boxes to Verizon Custoiriei'§

23. Verizon’s parent company of _tlie same name is one of the largest providers ’
of television programming, to wit: multi-channel video programming distribution
("MVPD”) in the United States. This content includes, but is not limited to, FiOS and
Quantum n

24. In addition to~ paying for MVPD services, Verizon customers are also
obligated to rent a separate proprietary product-the set~top box-for a leasing fee_that
is assessed in addition to the cost of the underlying service. _Verizon effectuates these
leases under the guise that a separate set top box is required for each television to be
connected to the FiOS network. '

25. ' A`lternatively referred to as a "digital `receiver” or a “digital converter,"
these units are designed with a single "input" and "0utput;’ connection. Verizon
erroneously purports that such devices are a necessary conduit between a FiOS cable

`_connect_ion and a television Specifically, Verizon deceives Quantum customers into

leasing one '(1) set-top box for each and every television to be connected to the FiOS

network. d l

26. Upon information and belief, Plaintiff avers that Verizon trains and ‘

instructs _its employees to claim that customers must lease a set-top box for each

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television to be'connected to the FiOS nctwork, This exclusive leasing scheme is nothing
more than a thinly veiled mechanism enabling Verizon to secure additional,
supracompetitive prolits.=l

27. Verizon does not adequately apprise and therefore confuses its Quantum
customers regarding the availability of third-party equipment alternatives To the
contrary`, Verizon and its employees/agents have deceived its customers into believing
that leasing multiple set~'top boxes from Verizon is a prerequisite for aecessing FiOS
services on multiple televisions in their own homes

Overview of Verizon’s Sales Processes

 

28.. Verizon deere a premium rios program titled "Fios Quantum Tv,"
which: (1) increases DVR storage capacity; (2) allows customers to pause / rewind live
television; and (3) increases the number of channels available via DVR. See, e.g.,

Upgrade d to Quantum TV., '__VERIZON, MM__WMMM

tv_.ht_ml (last visited Sept. 26, 20_16). ‘_

n 29. Verizon offers two types of Quantum services: “Premium” and

"Enhanced,” with the Premiuln package offering doubled capabilities These services
range in price from $22 to $32 per month.

30. Customers are able to purchase FiOS services-including, but not limited

to, Quantum-via the Verizon website. During this process, every service option

available to potential customers requires ther_n to lease a set-top box' for each television

set to be connected to the FiOS network

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3 This policy is in stark contrast to other equipment policies associated with Verizon’s FiOS services. For
example, FiOS customers must utilize a router in order to obtain FiOS Intemet service, which Verizon
offers for both lease and purchase

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31. Below are several'screenshots taken from a putative service order that was
generated on the Verizon website, with the service address set within Philadelphia,
Pennsylvania Speciiically, these screenshots represent a potential customer selecting a

plan titled "Custorn TV - Ess`entials," priced at a base of $-64.99 per month:

 

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32.

After selecting a FiOS plan, Verizon’s online ordering process provides

customers with the option of renting a “FiOS Quantum Gateway” router from FiOS for

$10.00 per month, 01', alternatively, customers may purchase the same router for a one_-

time charge of $149.99. This selection process is illustrated on the two screensho'l's

below:

 

 

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33. After selecting a router, customers are directed to an interface requiring
them to lease a set-top box for each television to be connected to the FiOS network.
Specifically, this process requires Verizon’s customers to: (1) state how many televisions
they will be connecting to FiOS service; and (2) select DVR recording options (titled
“Recording Services” below). ' l

34. This interface forces Verizon customers to lease a set-top box for every
television to be connected to the FiOS network. 'l`h'ese leases are presented as automatic

and imperative, without reference to the available third-party equipment alternatives:

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Verizon’s purchase process does not provide customers with an affirmative

choice to:.(l) select howl many set-top boxes they wish to lease from Verizon; (2)

purchase these set-top boxes in lieu of a leasing agreement; or (3) obtain analogous

equipment from various third-party merchants during the initial ordering process. As

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currently administered leasing multiple set-top boxes is presented as an absolute
condition of obtaining FiOS service from Verizon on multiple televisions.

36. -'I‘he total monthly bill for a putative Verizon customer who selects this
hypothetical service package for two (2) televisions, leases a router, and_ opts for
"Enhanced” DVR coverage (including Quantum) will have la monthly bill estimated at
$129.40. Verizon currently charges $12.oo per m\onth for a customers first set-top box,
and $10.00 per month for reach additional box. This means that the monthly fees for .

equipment rental (including the router) totals $50.00, alone:

 

  

 

 

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37. It` the same putative Verizon customer elected to connect four (4)
televisions to the FiOS network, the monthly cost would rise to an estimated $152.14 per

month The total fees for renting equipment (0ne ronter `and four (4) set-'top boxes)

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would total at least $70.00', accounting for nearly fifty percan of the customer’s

overall bill: '

 

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38. Verizon’s customers that opt for Quantum coverage are given access to the

application and to Verizon’s internet website, which allows customers to access live

programming ODC, and DVR functions from any properly equipped digital device (i,e.,

“smart" televisions, "smart” cell ph ones, tablets, and computers).

39. The application and thc website are effective both within, and without,'

Verizon’s customers’ homes and permits access to the panoply of the FiOS services

included in each respective customer’s service plan. For cxamplc, Quantum customers

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utilizing the application or the internet may watch live-streamiug channels in real time,
fully access DVR recordings and settings, and fully access ODC on multiple televisions `
wi hunt the use o an e ual number of s - ‘x s.

40. In particular, there are at least three substitutes to Verizon’s set-top box
“retliiirement”: (1) through the use of a “digital media streami.ng device” that is directly
connected to a television (e.g., the Roku Streaming Stick, the Amazon Fire TV Sticl<, the
Google Chromecast); (2) through the use of an application that is streamed directly to
properly equipped “srnart" televisions (e.g., the application accessed directly from a
“smart" television); and (3) through the use of an application or the i_nternet that is
streamed to a properly equipped digital device (such as a laptop computer utilizing the
application) that is then “projected” onto a television through the use of standardized
digital connectors.

41. "Digital media streaming devices” are marketed by various third-parties
and typically range in cost from $30.00 to $50.o0. 'l`hese devices connect to televisions
and enable the playing of audio-visual content by streaming content (i.e., through the
application), from the Verizon customer’s wireless Internet connection ("Wi-Fi”).

42._ Similarly, many "sinart” televisions have integrated Internet features (such
as the capability of directly connecting to Wi-Fi) and are capable of streaming such
content via Wi-Fi without the use of a third-party device.

1 43. Additionally, mobile digital devices such as "smart" cellular phones,
tablets, or most computers are also capable of accessi.ng FiOS content without a set¢top
box via the application or an Internet browser. 'l`his content can then be “projected” to a

Verizon customers’ televisions with the use of various standardized digital connections

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(tlie specific requirements vary depending on the make and model of the digital device
and the television).

44. ~ The conclusion suggested by these alternatives is unavoidable: Quantum
customers are readily able to view and a'ccess~FiOS content on multiple televisions
without the use of multiple set-top b'oxes.

45. This revelation dcvetails with research indicating that the use and
availability of third-party equipment alternatives is expanding rapidly. According to
estimates produced by the digital data analysts at eMarketer, 49.7 percent of the U.S.

' population will be using "connected televisions” to access the Internet, directly, by the
end of 2016. Sce, e.g., M'ajority of US Internet Users to Use a Conneered TV by 2015,
EMARKETER [Jun. 13, 2014), available at ht_§p:f[M' .e_markcter,com[Article!Ma]‘ggi!,;' r-

f“US~Internet-Users-Usc€ `-'I'V- -2 . 010 oB. Additionally, surveys
conducted by the Pew Research Center estimated that cell phone ownership among U.S.
adults was at 68 percent in 2015. See, e.g., Monica Anderson, Z‘echnology Device

Ownership: 2015, FEW RESEARCI-I CENTER, (Oct. 29, 2015), available at

 

46. At no time throughout its sales process does Verizon inform its Quantum
customers that it is possible to access Fi§)S service on a television that is not connected
to a set-top box through the use of any of the aforementioned third-party equipment
alternatives Rather,' Verizon’s sales process confusingly and deceptively requires
Quantum customers to lease multiple set-top`boxes in order to access FiOS service on

multiple televisions in the same householdl

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Plaintist Purch_a§e of Verizon EiOS Programming With Quantum Service

47. Plaintiff is sensitive to the price of digital cable programming and has, at‘
various times, compared pricing options offeredby competing digital cable providersl

48. ' In or about August 2014, Plaintiff purchased a “Triple Play .Bundle" from
Verizon which included Quantum as part of the overall plan. l

49. At the time of purchase, Plaintiff chose to connect his FiOS service to two
(2) televisions through the automatic leasing process utilized by Verizon. Since his
service contract began in August 2014 Plaintiff consistently has been charged $19.98
every month for the two set-top boxes. See, e.g., Plaintist Verizon bills from August
201_4, September 2014, October 2014, December 2015, January 2016, and February
2016, including charges for two set-top boxes totaling $19.98, true and correct copies of
which are attached hereto, made a part hereof, an_d collectively marked Exhibit "B.”

50. _After approximately two years of service, Plaintiff has paid a total of
$479.52 in lease charges, alone, for the tw_o set-top boxes.

el'izon's ])ece tive and Mislcadin Sales Pract:ic 1

   

51. Verizon is a Major MVPD service provider in the Commonwealth of
Pennsylvania,

52.l A't all relevant times hereto and continuing until today, Verizon was
required to peddle its FiOS services -while providing full disclosures to its Quantum
customers regarding the third-party equipment alternatives available`(With particular
reference to subscribers leasing more than one set~top box from Verizon).

53. Upon information and belief, Verizon’s deceptive conduct toolt the form of

Verizon’s representations, primarily and by-and~through its employees and /or agents.

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Customers wishing to purchase FiOS service were required to lease multiple set-top
boxes in order to access FiOS programming on multiple televisions. In _so doing,
Verizon deceptively obfuscated the state of its tcchnology, obscured the availability of
third-party equipment alternatives, and collected lucrative fees at the expense of its
clientele. .

54.` The ultimate result of this deceptive conduct is that Verizon’s customers
paid and continue to pay for the privilege of unnecded and redundant devices whose
sole purpose'is to generate an additional revenue stream for Verizon. l

55, By engaging in the conduct set forth and described above, Verizon has
violated Pennsylvania law in the following ways:

a. Deceptively and confusingly requiring Plaintiff and the Class to lease a
separate set-top box for each television the customer wishes to connect to the
FiOS netwo rl(;

b. Improperly assessing monthly fees for _multiple set-top boxes without
disclosing to Quantum customers, including Plaintiff and the members of the
class, that there are numerous third-party alternatives available that allow
customers to access FiOS services on multiple televisions without the use of
multiple set-top boxes ; n

c. Deceptively requiring its Quantum customers, including Plaintiff and the '
members of the class, to lease multiple set-top boxes by erroneously claiming
that such equipment is required to view "all digital programming”-on the

multiple tel evi sions;

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d. D_eceptively and confusingly omitting facts which are material to thc
commercial relationship between Verizon and its Quantum customers,
including Plaintiff and the other members of the class, to wit, the availability
of third-party equipment alternativesl in cluding:

i. Utiliaing a “digital streaming device” that can connect to the Internet,
primarily, and directly stream FiOS content through the application or
by a similar means, without the use of Verizon’s set-top box';

ii. Utilizing a “smart” 'television that can connect to the Internet,
primarily, and directly stream FiOS content through the application or
by ~a similar means, without the use of Verizon’s set-top box; and

iii. Utilizing a "smart” digital device to stream FiOS content through the
application or by a similar means, without the use of Verizon’s set-top
box, and then “projecting" that content onto a television through the
use of standardized digital connectors.

56. Therefore, Plaintiff alleges that the deceptive conduct of Verizon and its
abject failure to honestly market its Fios product gives rise to liability for the claims set
forth herein. `

CLASS ALLEGATI ONS

`57. ' Plaintiff brings this action on behalf of himself and as_a member of the
class defined below, as a class action under the provisions of Pa.R.C.P. r711(a). -

,58. The class on whose behalf this action is brought by Plaintiff is defined as

follows:

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All Pennsylvania residents who are current or former customers of

Defendant Verizon, who purchased FiOS with Quantum, and who have

paid rental charges for the`_use of more than one so-called "set-top" box to

Defendant Verizon at any time from September 2011 to the present

59. Cerlification of the class defined¢ab'ove is proper in that:

a. The"propo‘sed class of Pennsylvania citizens who purchased FiOS and
Quantum from Verizon are so numerous that joinder of all-members is
impractical The exact number and identities of this class are currently
unknown to Plaintiff, however, the exact number and identities of the class
members are known to Verizon; and

b. There are questions of law and fact common to the class, including, but not
limited, to whether Verizon:

i. Dcccptively required Quantum customers to lease set-top boxes for
each television the customer wanted to connect to FiOS service;'

iii Deceptively obfuscated the availability of third-party equipment
alternatives that would allow customers to fully access FiOS content
on multiple televisions without the use of multiple set-top boxes',
and

iii. Engaged in a duplicitous commercial scheme that constitutes an
unfair method of competition and illegal, deceptive conduct under
Pennsylvania law.

60. Plaintiff is a member of the class and his claims, as described above, are

typical of the claims of the class members

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61. As the representative party, Plaintiff will fairly and adequately protect the

interests of the class under the criteria set forth at Pa.R.C.P. .1.70 9, in particular:

a. Plaintiff and his attorneys will adequately represent the interests of the

class;

b. -Plaintiff does not have any conflict of interest in thc maintenance of this

class action; and

c. Plaintiff has engaged responsible class counsel who have suchient

financial resources to assure that the interests of the class will be
adequately protected and Will not be harmed, consistent with the
Pennsylvania Rules of Professional Conduct. .

62._ This class action provides a fair and efficient method for adjudication of

the controversylunder the criteria set forth at Pa.R.C.P. 170 8, in partiwlar:

'a. Common questions of law and fact predominate over any questions affecting
only individual members, including pleadings and factual issues relating to
liability and damages;

b. The matter appropriately maybe managed as a class action;

c. The prosecution of individual actions would create a risk of inconsistent
adjudication, establishing disparate and incompatible standards of conduct
for Veriaori;

d. In view of the complexity and expense of litigation, the separate claims of the
individual members of the class, alone, would.not be sufficient to justify the

expense of effectively prosecuting such_claims;

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e. There is no pending litigation already commenced addressing these 'issues;
and
£ This court is the appropriate forum for litigation of the claims of thc entire
case. l
63. The class is readily definable and prosecution of this controversy as a class
action will eliminate thc possibility of repetitious litigation, while also providing
redress for claims that may be too small to support the expense of individual, complex
litigation In addition, the maintenance of separate actions would place a substantial
and unnecessary burden on the courts of this Commonwealth and would result in
inconsistent adjudications Conversely, a single class action would definitively
determine the rights of all class members with the added benth of judicial economy.
64. In this action, Plaintiff seeks all appropriate and available relief from
Verizon for its deceptive practices and unfair methods trade, specifically with regard to
its deceptive conduct regarding the alleged “requirement".of leasing a "set-top box” for

each and every television in a customer’s home.

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QONSUM.ER I’IL§ !I`_E QZ:IQN LAW

65. Plaintiff incorporates herein, by reference, all other paragraphs of this
Class Action Complaint as if fully set forth herein at length.

66. This cause of action is brought pursuant to the U'l`l’Cl’L, see, e‘.g., 73 P.S.
§§ 201-1`, et seq.; which enshrines legal protections and recourse for Pennsylvania
consumers against unfair or deceptive acts or practices in the conduct`of any "tradc or

commerce,” as defined at 73 P.S. §§ 201-2(4)(i]-(xxi); and 201-3.

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67. ' Plaintiff an'd the class are "persons” as defined by the UTPCPL

68. 'At all relevant times, Plaintiff and the class purchased goods and services
from Verizon for personal, family, or household purposes as defined by the UTPCPL.

n 69. At all relevant times, the transactions between Plaintiff the class, and '

Verizon constituted "trade or commerce’; as defined by the UTPCP'l,.

70. Defendant Verizon’s ongoing deceptive commercial practices, which
required its customers to lease multiple set-top boxes as a pre-requisite for accessing
FiOS content on multiple televisions, and its total obfuscation of the availability of
numerous third-party equipment alternatives, violates S.ection 201~2(4)(xxil of the
UTPCPL in at least the following ways:

a. Deceptively and confusingly requiring Plaintiff and the Class to lease a

separate set-top box for each television the customer wishes to connect to the

FiOS network;

b. Improperly assessing monthly fees for multiple set-top boxes without

disclosing to Quantum customers, including _Plaintiff and the members of the

‘ class, that there are numerous third-party alternatives available that allow

customers to access FiOS services on multiple televisions without the use of
multiple set-top boxes;

c. Deceptively requiring its Quantum customers, ‘including_l’laintiff and the

members of the class, to lease multiple set-top boxes by erroneously claiming
that such equipment is required to view "a]l digital programming” on the

multiple ltelevisions;

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d. Deceptively and confusineg omitting facts which are material to the
commercial relationship between Verizon and its Quantum customers,
including Plaintiff and the other members of the class, to wit, the availability
of third~party equipment alternatives, including: l

i. Utilizing a "digital.streaming device” that can connect to the
- Internet, primari]y, and directly stream FiOS content through
the. application or by a similar means,_ without the use of
Verizon’s set-top box; 4
ii. Utilizing a "smart” television that can connect to the Internet,
primarily, and directly stream FiOS content through the
application or by a similar means, without the use of Verizon’s
set»top box; and
_ iii. Utilizing a “smart" digital device to stream FiOS content through
the_ application or by a similar means, without the use of
Verizon’s set-top box, and then "projecting" that content onto a
television through the use ot' standardized digital connerl:ors.

71. Although Plaintiff does not concede that reliance is not a necessary

n element of the UTPCPL violations set'forth herein, to the extent that "justitiable

detrimental reliance” may be a required element of the claims herein, Plaintiff and the

class, at all relevant times her eto, justii_iably relied upon Verizon' s deceptive and unfair
practices regarding the necessity of leasing multiple set~to`p boxes, to their detriment

Moreover, this justifiable detrimental reliance resulted in actual pecuniary harm to the

Plaintiff and the class.

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72. l Plaintiff further avers that justifiable detrimental reliance is presumed as a

result of the materiality of the transactions at issue in this casc. k
73. By reason of the foregoing, Plaintiff and the class have been liarmed,
entitling them to injunctive relief,' actual damages, statutory damages, treble damages,
costs of litigation, and reasonable attorneys' fees. ` l
WHEREFORE, Plaintiff and the class respectfully request that this I-Ionorable
Court enter judgment against Verizon as to Count l and award Plaintiff and the class
actual and statutory damages for each instance of unfair or deceptive conduct,
including, but not limited to, each instance when Verizon obfuscated the availability of
third-party` equipment alternatives to Verizon’s set-top boxes, and/or improperly
required Plaintiff and the class to lease multiple set~top boxes Plaintiff and the class
respectfully request damages in an amount in excess of fifty-thousand dollars
($50,000.00), together with interest, statutory damages, treble damages, costs of
litigation, reason able attorneys’ fees, and such other relief as this I-Ionorable Court may

deem appropriatel

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74. Plaintiff and the class incorporate herein, by reference, all other
paragraphs of this Class Action Complaint as if fully set forth herein at length.
75'. The UTPCPL prohibits unfair methods o'f competition and deceptive acts
and practices that createlthe likelihood of confusion or misunderstanding including
Verizon’s actions, which deceptively required its Quanth customers to lease multiple

set-top boxes in order to access FiOS content on multiple televisions In reality,
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Verizon has deceptively and confusineg obfuscated from its Quantum customers the
availability of third-party equipment alternatives See, e.g., 73 P.S. § 201-2(4)(xxi).

76. Verizon violated~and continues to violate-Pennsylvania law by
deceptively requiring Plaintiff and the class to lease a set-top box from Verizon for
evcg_v television to be connected to the FiOS broadband network In reality, there are
numerous legitimate alternatives that permit customers to fully access and enjoy FiOS
on multiple televisions without an equal number of Verizon’s devices.

77. Verizon’s conduct, as described above, constitutes a continuing and
ongoing violation of Pennsylvania law, as stated at Section 201-2(4)(xxi) of the
UTPCPL, which necessitates judicial relief to remedy these improper practices

78. Pursuant to 42 Pa.C.S. § 7533 ("Construction of documents"), this
Honorable Court can adjudicate this controversy based upon the following language:

A`ny person interested under a deed, will, written contract, or other

writings constituting a contract, or whose rights, status, or other legal

relations are affected by a statute, municipal ordinancc, contract, or
franchise, may have determined any question of construction or validity
arising under the instrument statute, ordinance, contract or franchise,

and obtain a declaration of rights, status, or other legal relations

thereunder. ' .

79. Plaintiff and the class are interestcd, affected, and contemplated by'the
UTPCPL, as they are the persons who have purchased Verizon’s goods or services
through trade or commerce See, e.g., 73 P.S. § 201-2. As a result, Plaintiff and the.
class are invested and affected by _Verizon’s flagrant violations of the UTPCPI...

Moreovcr, Verizon’s deceptive sales practices have created the significant likelihood of

confusion and misunderstanding on the part of consumers in the Co nimonwealth.

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80. Plaintiff and the class, therefore, seek a declaration that Verizon has
d violated--and_continues to violate-Pennsylvania law, including, but not limited to, the
UTPCPL by engaging in the following conduct: .
l a. Deceptively and confusingly requiring Plaintiff and the Class to lease a
separate set-top box for each television the customer wishes to connect to the
FiOS network; ,

b. Improperly assessing monthly fees for multiple set-top boxes without -
disclosing to Quantum customers, including Plaintiff and the members of the
class, that there are numerous third-party alternatives available that allow
customers to access FiOS services on multiple televisions without the use of
multiple set-top boxes;

c. Deceptively requiring its Quantum customers, including Plaintiff and the
members of the class, to lease multiple set-top boxes by erroneously claiming
that such equipment is required to view “all digital programming” on the
multiple televisions; _ l

d. Deceptively and confusineg omitting facts which are material to the
commercial relationship between Veriaon and its Quantum customers,
including Plaintiff and the other members of the class, to wit, the availability
of third~party equipment altern atives, including:

i. Utili?.ing -a “digital streaming device” that 'can connect to the
Internet, primarily, and directly ster FiOS content through
the ».application or by a similar means, without the use of

Verizon’s set~top box;

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ii. Uti]izing a “srnart” television that can connect to the Internet,
primarily, and directly stream FiOS content through the
application or by a similar mea‘ns, without the use of Verizon’s
set-top box; and

iii. U'tilizing a "smart” digital device to stream FiOS content through
the application or by a' similar means, without the use of
Verizon’s set-top box, and then "projecting" that content onto a ‘
_ television through the use of standardized digital connectors.

81. Declaratory relief is appropriate because: (1) there is a rea], actual, and
substantial controversy in which claims have been asserted against Verizon, which has
a vested inteer in contesting those claims; (2) the instant controversy is between
parties which are adverse and antagonistic; (3) Plaintiff and the class have a direct,
substantial, and present interest in resolution of the instant controversy; and (4) the
controversy is ripe for judicial determination and adjudication and Plaintiff and the
class_seel< a binding decree as the impropriety of Verizon’s conduct l

WHEREFORE, _Plaintiff and the class respectfully request that this.Honorable

Court enter judgment against Defendants on Count II and award thc declaratory relief

sought as well as any supplemental relief, including, but not limited to, injunctive relief,
an accounting (pursnant to l_’a, R. Civ. P. 1021), and any other appropriate relief under

the circumstances to remedy Verizon’s violations of the UTCPL, together with`interest,

costs of litigation, reasonable attorneys; fees, and any other relief that this Honorable

Court may deem appropriate

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DATE= september 23, 2016 `

Respecttully submitted,
ANAPOL WEISS

 

` SoL H. Wmss, EsQumn (No. 15925)

DAvm S. SENoFr, Esouuus {No. 65278)
Cmr'ron P. FLAH:sRTr, Esoumn (No. 319767)

_ ONELOGAN SQUARE

130 N. 1131'*l S'rnnn'r, Surrs 1600
PHILADELPHIA, PA 19103
PHQNE: (215) 790-4550

` FAX= (215) 875-7733

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V.E`RIFI CATION

Christopher Kelly, Plaintiff in the within action, verii`les that he is acquainted with
the facts and intbnnation set forth in thc foregoing Complaint, and that the same me true and
correct to the best of his loiowledge, information and bclief. This Verifrcation is made-

subjcct to the penalties of 18 Pa. C.S. §4904, relating to unsworn falsification to authorities

 

 

. CHRISTOPHBRKELLY`

Date: September 26, 2016

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Details of Current Charges

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Subfo\al $20.68
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What are the Taxos, Surchergea, and Feee on my bill?

Your bill includes federat. state and tech ie)tcs, govomrnentel surcharges and fees as wait as Verizon surcharges and leee.
Thaee charges vary depending en what products and services you have end in which state you use these products and
cervioec. For more interruption go lo vertzon.comitaxasandiee:. ‘

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lt's Eeey to P;ry Yout' Verizon Bl|l with Your Fios TV Remote Controi

You lust need to be registered on ivtyVerizen.com and have a saved payment account

Foiiow these easy cio st

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- Saiect Eii|l end Payment than Vtow my Bii| end enter your Pererriel Controi Pln

- Seloot OK irom Aoceunt Summa'ly. then OK again lo Pay Your BlB

- Se|ect Payment Aocotint. Your Paymant Account, than press OK to submit

A ooniirmatton ot your payment will disptay once the transaction ls comptote.

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~ a FDV Admin!strativo Charga epptieabte per Fioe Dig|tal Vcica line to heip delrey account-cervictng costa enunciated with
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Pleeee note that the surcharges are charged not texas. Thaea charges, and what in tnctuded in those chorgoe. erc sub|ect to
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the number listed on your blii. '

Customar Notices

Customer Propriotary Network information (CPN|) Notice for Resldentist, Smail'and Modium Business
Customers

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virtue oi our relaitonship with you. The protection ot your lniorrna!ionia lmportent to ue. Under laderat tavr. you have a itght, and
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vorlzorr.com lar a complete listing ot our services and compon|es.

For reaidenttat, arnett end modtum business cuetunera, you may choose not to town your CPN| used lor marketing purposes
described above by calling ua anytime et 1-888'433-9?00. When you call, please have your bill and account mother availabto.
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E|eclron`rc Fun¢l Transler (EFT]

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Serv|ce Providors ' '

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Local Franchiee Autl'iortiy - Fios TV
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Sorvlces . ` .

Questlons

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- Cusiemere with disab||liioe. call 1.800.974.8006 (voice er iiy)

More Ways to Pay

- Set up auto pay. vadzon.ooroinulepoy

- Pey in person: vedzon.comtpaymeni|ocsilons
' F*ay by phone line applies}: 1 .BDU.BST.¢S.

Corresp_ondence ‘
Go to verlzon.comtoontocius or mail to PO Box 4843 Trenton. NJ 08650-484 S.

Closod Csptionlng questions end Conccrns? .

- |tyou have a concern or complaint with closed captioning on n program please call Verizon et 1.MB.VER|ZON. Wdtterr _
correspondence can be sent by.iax to t .BBB.BOB.?DEB, by entail to vldsociosedceptiorr@verimn.com. or by mail to Verizon. PO

Bex 4849, Trenion. NJ OBBEB Altn: Etalno Buoct, Sr. Mgr. _ y

Berticruptcy information .

li you ere or were in henknrpiey, this bill may lnctude amounts ior pre-bankruptcy service Yoe should not pay pre-bankruptcy
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Weldon Sprtng, MO 83304.

OFFERS 81 BENEF|TS

New movies
Roni or buy new releases lnstantly. Accees them On Demand on Fios TV & on-the-go on the Ftos Mebi|c app.

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Case 2:16-cV-05672-l\/|SG Document 1 Filed 10/31/16 Page 52 of 80

CHR|STOPHER KELLY _
Plimary Fhone: 215-849-2730
Aocoun!Number: 454-026-986-000|-78

Bllante: September18,20|6

 

Account Summary
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Addltlonal Servlces & Equlpment 44.99 9/19-10/|9
Requested Change ln Servlce -.82 .
Fees&Olher Charges 19.65

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Entertainment offer

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Foolball. Tune to channel 860 to order.
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Send thls stub wllh your payment

Accouthumber:454-026-986_0001-73
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Make check payable _lo Verlzon

 

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Case ]D: .160903521

Case 2:16-cV-05672-l\/|SG Document 1 Filed 10/31/16 Page 53 of 80

CHR|STOPHER KELLY -
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Case 2:16-cV-05672-l\/|SG Document 1 Filed 10/31/16 Page 54 of 80

cHRls`ToPHERKt-:LLY

PrlrlTary Phone: 2l5-849-2`I3O

Accountl\hrnber: 454-026-986-000|-78

Blll Da\e'. Septemberw. 2016

Details of Charges~
lncludes dlscotmtsshown on page 2.

 

Your bundle tncludes Flos lntemet 50/50. FlosTV Prelerred HD and Flos_
Dlgital Volco Unllmlted

Bt.lnd|i.l Pr[ce- 30 days

 

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Case 2:16-cV-05672-l\/|SG Documentl Filed10/31/16

CHRlSTOPHERKELLY _,
PrlmaryPhone: 215-849-2730
AccountNumber: 454-026-986-0001-78
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Page 55 of 80

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Case 2:16-cV-05672-l\/|SG Document 1 Filed 10/31/16 Pag_e 56 of 80

CHRlSTOPHER KELLY
Prlmary Phnno:

Bl|lDato:_ Septemberltl. 2016

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lt's Easy te Pay Your Verizon Blll with Your F|es TV

Remotc Contro|

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- Select OK from AccountSumma ry. thenOKagatn to Pay
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Customer Notlces

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Services

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Exhibit “B” _

Case fID: 1|60903'52]

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Your monthly bundle price after the
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To view the Terms of Service, visit verizon.comlterme.

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if you submit check payments via on|ine banking,
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Ctrstomers .
CPN| is infon'natlon that relates to the typo. quani|ry,
destination, technical configuration. location, amount of
use, and billing information of your telecommunications
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by fax to 1.888.806.7026, by small to
videociosadcaption@varizon.oom or by mall to
Verizon, PO Box 5166l Tarnpal FL 33675 Aiin: Carinne
Turney, Manager.

Bankruptcy information

ii you are or were in bartitri.rptcyl this hill may include
amounts for pra“i:ramd'uptcy eerulce. You should not
pay pre-bankruptcy amounts; they are for your
lniormotlcn oniy. Mell_ bankruptcy~reiotod
correspondence to 500 Tachnoiogy Drive, Suit_e 550,
Wcldon Spring, MO 63304.

og§@;r_r); 16090352;1

Case 2:16-cV-05672-i\/|SG Document 1

cllRl$TOPHER KEi.LY
Primary Phone.' 215849-2130
Account Numher: 454-026338-0001-73

Bii_i Data: January18,2016

Account Summary

 

Previous Baience _
Payment Received- Thenk You -135.34 1i5
Baionca Forvmrd $.00

 

89.99 1/19- 2I18

Fioa TV, internal & Phone Bndie

Addifiona| Servloea & Equipment 24.97 1119- 2I18
Fees & 0|her Cherges 20.73 '
Tota| Due by Februar_y 1 2 $135.69

To avoid a fate payment charga, pay the total due by Fab 20,
2016, For TV, iniemei end wireless sen/fces, fire fate payment
charge ls $5 dr 1.5% of your iofaf due, whichever is graafer. For aff
other services. the late payment charge is 1 . 25%.

»\~.

iViore ways to pay

Never be late agalni Auto Pay at verizon.com/
autopay and you're always on time, or use: ,

- v_er|zon.comlpnyonilne to make a single
oniine payment
- lilly que app
- 1.800.831.4966 io' pay by phone
- vorizon.com/paymentlocatione to pay in person

Filed 10/31/16 Page 72 of 80

Gei answers last

- C|fck to chatat verizon.com/iiveagent

- Caii i.800.Varizon (i.BDD.837.4966)

- Cuatomers with disabilities call
1.800.974.6006 (voice or TT¥)

§ Ofiers di'bene~ii'ts

Mov|ng?
We'|| help set you up with internatl TV

- end phone services in your new home.

We have saving options just for you.
Don't forget to ask about Flos in your
arse. Catl us et 1.866.896.6837.
Sorvice availability varioc.

Dcvlce protection

Crack yo`tr tablet screen? Drop your
iaptop? Crash your computor? No
problcm. Sign up for Verizon Device
Proieciion Pian and we will repairer
replace any covered device regardless
of brand or age for just $9. 99 a month
(piue taxos). We've got you covered this
hoitday. Call 1. 888. 456. 0080.

 

kSemi this stub with your payment
Account Number: 454-026-986-0001-18
Totai Dttc: $135.69 - t] ]. ]. 5 11 is
Make check payable to Verizon
waterman ram
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mut Pit 19144- 2507 re sex 15124

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Case i_D: 160903521

Case 2:16-cV-05672-I\/|SG Document 1 Filed 10/31/16 Page 73 of 80

CHRiSTOPHER itELLY
FrlmaryPhane: 215'849-2730
Account Numbnr: . 454-026-9860001-78

Bil| Da_lcz innuary1ti, 2016

Your Discounts
Your

Price Discuun_t:s .

 

nos Tv Pmrerrad HD ' 54. 99 ' -10. 00

Flos |ntemet 25{25 40.00 -25.00
F|os Dig|tal Volce Un|imltad 30.0(i

 

nundlePribe _ 5124. se -$35 00

   

‘ Bf'dd_i 5551 ' 13 _
Flos Quantum TV- Enhanced 22.00 -22. 00
Service '
Subtotni -$22.00
Discounts This iV|onth -$57.00

Dlscounis have bean applied la lha Toiai Due shown on page 1.

Verizon Fest Facts
Visuai 411 App

Get local business listingsl
coupons, reviews, maps, directions
and much, much moral Search by
category. business name, keyword
or coupon. Vlsit verizon.com/
visual411 for details.

l ',».p _ t .
Why does my bill ilucluele?

Your bill amount iiuciuales when you:

- Request a change ta your service

§ Purchase or rent movies _

- Use directory assistance .

‘ Make calls outside of your calling plan
" Receive a promotional credil

§ Lose a promotional credit

~ Rece|ve a price.»change

How can | requests duplicate bii|?

Duplicate bills can be downioadad and printed al varlzon.comlbllivlew.

 
 
  
  
 
 
 
 
  

Getpeace of mind

Prolocl your _nuw end old devices with
the Verizon Do\rica Protecl|on Pian.
Vis|t verizon.com/d evicecoverage.

TV discount expires §/14/16.
internet discount expire 8/1 4/16.

TVd|sceunt expires 8/14/16.

international TV

Aek about our many intemetionll `l V

content packages-from Spanish -
language, tn Mnnderln, Portuguese.

Korean end many others. Catl us at

1.888 992 8111 and ask about service

availability.

Whai is thc balance that l currently
owe?

You sen review your most current
balance information milne at
verizon.comib|iiview or you can follow
the prompts at i.800.VERlZON.

§.`.`¢§sc.,i`l$: 160903521

CaS€ 2216-CV-05672-|\/|SG

Document 1 Filed 10/31/16 Page 74 of 80

CHR|STOPHER KELLY Geianswers last
Pn’mary Phonc: 215849-2730 - Ciick to chat al verlzon.c<m/l|veegent
wilful N“m'm'= 454~°25935°°°1'7“ - call1.eoo.verizon(1.500.837.4966)

Blll Dale: January1li. 2015

Details of Current Charges
includes discounts shown on page 2.

 

Your bundle lncludas Flos ‘i’V Preierrad HD, Ftos internal 25!25 end
Flos Dlgital Voch Unl|mited

Bundie Prlce

 

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(Runt): 2 TV Equlpmenl Peckege
(Rent}: ereiess Rouler
Subtota|

 

Taxas, Govammenial Fees & Surcharges
PA Stote and Lonal Sntes Tex
Teiecornmunicatlons Raiay Service
E911

Verizon Surcharges & Fees
Fedemi Universel Servi¢:a Fee

PA Gross Rnnolpts Ta_>g _Surcharge
yldoo Franchlsn Fee

Regulotory Reccvery Fee - Fadoral
Frennhise Reialed ¢osis

Reglonal Sports Neiwork Fee

FDV Ad minislreiive Cherge
Subtotai

Total Due

- Customors with disabilities call
_ 1.800.974.6096 (volce or TT¥)

`(our monthly bundle price afterthe
dtscocmts shown on page 2 were
applied. '

$89.99 1I19- 2I18

Equ|pmentand additional services to
personal|ze your F|as service

19.98
4.99

$24.97 1119 - 2/18

includes both Verizon fees end
governmental texas and fees. For
detai|svisir

499 _ verlzon.com/taxesandl’ees.

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“ 242
.99

$20.7 3

$135.69

C,§§<;°lg); 160903521

Case 2:16-cV-05672-I\/|SG Document 1 Filed 10/31/16 Page 75 of 80

CHRiSTOPHER |(ELLY
Pl|mary Phnit'e: 215-84§-2730
Atcmmi Numhuf: 454-020-986-0®1-73

Blll Date: January 10, 2016

important

Changes to Dircctory Listing Serv|cas

On March 19. 2015, the monthly price is changing for
the following servlca:

Non-Pubilshed Sarvfce from $4.75 to $4.90

Verizon values your business and offers many services
that nn enhance your inlamct, TV and phone
oxperience.

Changea to D|reciory Assisianca Servicn

On Mari:h 19, 2016 the price for Dlrectory Ass|stance
ls increasing from $2. 49 to 32 75 per cail. Verizon
values your_b usinass end offers many services that
can enhance your internet, TV and phone cxperience.

Surchargos

Surcharges indude:

- a Federa| Subscrlber t.ina and Accoss Recovary
Charga applicable to stats-to-stata and international
services that helps pay for the co_sls of providing
and maintaining the local phone network;

- a Federai universal Sanlice Charga applicable to
staio-to-slaie and international services to recover
fees imposed on us by the government to support .
universal service:

- a Carrler Cost Reoovery' Charge applicable to long
distance customers that helps defray our costs for
terminating calls on other networks, fees paid to
support government programs such as
Teieccmmunlcatlons Reiay Servica and local
number portabiiiiy, and other Fodorai
Communicailons Commisslon-assessed charges;

» a Long Dlstanca Adminisirai|ve Charge applicable to
long distance customers to help defray account
servicing costa for atata-_to-stala and international
catiing;

~ a Fadaral Ragu|atory Feo applicable to recover the
annual per video subscriber fea` payment made to
the FCC; and,

' a FDV Adminlsiratlve Charge applicable per Fioa
Digitai Voice line to help defray account~serviclng
costs associated with providing voice services

Pisasa note that the surcharges are charges. not iaxes.
'ihese charges, and what is included in these chargesl
are subject to change from time to time. For additional
information regarding the charges on your Verizon biii.
please visit vorizon.com or call the number listed on
your irlii.

FUSF Fee Changes Jantrary 1, 2016

¥our Fedarei Universal Servico Fund (FUSF) fee may
change on January 1, 201 B. Auihorized and reviewed
quarterly by the FCC. the FUSF funds programs to
keep tucci telephone rates affordable for eli customers
and provides discounts to scinois, librarias. rural
healthcare providers, and low-income iamiiias.

Customar Notices

Customer Proprietary'Naiworit information (CPN|) _
Notice for Residenilal, Smaii and Medium Buslness '
Customers

CPNt is information that relates to the type, quantity,
dostlnat|on, technical oeniiguralion, iocation, amount of
use, and billing information of your telecommunications
or interconnected VolP services. This information is
made available to us solely by virtue of our relationship
With you. The protection of your information is

important to us. Under federal law. you have a right,

' and.we have a du ly, to protect the confidentiality of

your CPNi.

We may use and share your CPNt among our affiliates
and agents to offer you services that era different from
the services you currently purchase from us. Verizon
olfers a full range efeenricos such as vidoo, wireless,
lnternet. and lopg disianoe. Vlsit verizon.com for a
complete listing of our services and companies

For residential, small and medium business customers.
you may choose not to have your CPNt used for
marketing purposes described above by calling us
anytime at 1»886-483-9700. Whon you celll please
have your blil and account number available your
decision about use of your CPNt doesn‘i affect our
provision of services io you nor eliminate ali Verizon
marketing contacts .

Unless you call us at the number above, Veri`zon may
use your CPN| to market different types cf senrlces
beginning 30 days after the first time we notify you of
the CF'Ni policy daso'ibed above. You may elect d any
time to add or remove a restriction on tho usc of your
CPN|. Your choice remains valid until you change your
election by calling the number above.

Electronic Fund Transfer (EFT]

Paying by check authorizes us to process your check
or use lite check information for a ono- -time EFT from
your bank account. Verizon may retain this information
to send you electronic refunds er enable your future
electronic payments to us. ii you do not want Verizon
lo retain your banit information. call 1~888-500-5358.

Sorvice Provlders

Verizon PA provides regional local calling 'a'nd misled
features other voice aervices, and Fios TV service,
unless oiheMise indicated. Verizon_Long Disian`ce.
provides long distance ceiling and _oiher services
Idarrilfred by "VLD" in the applicable bliied.line itom.
Verizon Online provides internal service end Fios `fV
equipment Fios ls _a registered mark oiVerizon
Trademark Serviccs LLC,

€`g§c°tpz i60903521

Case 2:16-cV-05672-i\/|SG Do_Cument 1

cnnls'ror=l-lstt t<r-:LLY
Primnry Pimnc: 215-849-2730
Account Numi:er: 454~026~985~0001-73

Bili Date: .ianuary18, 201 ii

Loca| Franchise Auihority - Fios TV

Ciiy of Phi|a City Hai|l 1400 JFK Bivtll D|v of Tech,
Cable TV Unll. Rm 702, Phiial PA 19107, 215
686-2934, Your FCC Commun|ty lD is: PA3925

Specia| Services

Gorrespondenca
Go to verizcn. com/oontsctus or mall to PO Box 5156
Tampa FL 33675.

Closed Capt|oning Quesl|ons and Concorns?
ii you have s concern or complaint with closed

- cepi|cnlng on a program, please cell verlzon al
i.autl.vEFtlZON. Written correspondence cert be sent
by lax to 1.888.806.7026, by small to
videociosedcaption@vert¢on.com, or by mail to
Verizon, PO Box 5166. Tampa. FL 33675 Attn: Carinne
Turney, Manager.

Bankruplcy information

if you are or were in bankruptcy. title `blll may include
amounts fur pro-bankruptcy servicel You should not
pay prc-bankruptcy antcunts; they era for your
information oniy. Maii bankruptcy-related
correspondence to 500 chhnology Drive, Suite 550.
Weidon Spring. MO 63304.

Filed 10/31/16 Page 76 of 80

Get answers fast
- Ciick to chatat ver|zen.com/iivccgcnt
~ Cailf.BOO.Verlzon (1800_.837.49661

\ Cusiomcrs with disabilities call
1.800. 974. 6006 (voioe or TTYi

$`¢g§§,,i-]_.,): §| 609 0352].

Case 2:16-cV-05672-I\/|SG Document 1 -Filed 10/31/16 Page 77 of 80

CHR|STOPHER KF.LLY

PrlmelyPlxonm 215-849-2730
AccountNumber: 454-026-986-000|-78
Blll Dato: l-‘ebruaryw. 2016

Account Summary

 
   

Previous Balance
Payment Received - Thank You

Baiance Fotward_ $.00

 

'“' ' ¢r.'r " _ 1 _
FlosTV. |nternet& Phono _Bund|c 89.99 2/|9- 3/18
Addmonalsavloesasqmpmm 24.91 2119-ana
Fees&Othe: Charges 20.73
. Total Due by N|arch 14 $135. 69

To avoid slate pa mont drarge.pay the total due by Mar 22. 20|6. For
TV internal and roless services the late payment charge is 55 or1.5%
ofyourtatai dua,whlchaveris greater. Forell other services, the late
payment chargeis 125%

®'_ Nlore ways to pay ,

' Ncwer be late;s again! Auto Pay at verizcm.com/
auto-pay and you're always on timel br use:

- verlzo`n.com/payoniine to make a single
onllno payment
, - My Fios app
~ 1.800.837.4966 to pay by phone
- verizon.com/paymentlocationa to pay in person

Send this stubwiti\ your payment

Get answers fast
- Cich to chala| varizon.coml||veagent

'- _Ca|l i.BOG.Vcrizon (t800.837.4086)

- Cuslémor'a with disabllllios call
1.80 0.974.6008 (volca or TTY)

bit lO'r‘i‘err; tit benefits

Set you DVR free

As a Eos Quantum TV customer.you can
stream your favorite DVR shows on selnct
deviccsnnylim¢=. almost anywhere with tito
Flns Mohileopp. You cannisotnke livaTV
channels win you virtually nnywhlan*¢al
Dovmloacl the apptnday. Hos intern et&.
Verizonrouisr required

Pl`ei'i'iil.im Chai'inel$

Chnckutlt new and returning series forlhe
best in entertainment athomu or nn the go,
mac vinyl an HBC)@ ma ck season sTARz-.
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at1380.49&8254, or goto channel BEOto
checkuut our offers.A\-'a|lohillty varies and
restrictions appiy.

Ma)timize your s peed

Get avenmore inuring spend to do more
unilrle und wnlch yourda\lices f|y. Lipgrnde
to Flos Quantum 50/ 50 Mbps internet for

` just $10 per month mcre. Ca|iusat

1.888.656.8" l. Limite d-iima oiler. Speeds
notava|lab|e In all areas. Taxcs app|y.

Account N umber: 454-025~986-0001-7_8

 

 

Totai Due: $135.69 DE]:B]»\:
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~ Case lD: 160903521`

Case 2:16-cV-05672-I\/|SG_ _Document 1 Filed 10/31/16 Page 78 0180

CHRISTOPHER KELLV

Primary Phono: 215-849-?.730 .
AccountNumber: 454-026-986-0001-78
Blll Dnte'. Febmary18, 2016

_ Your Discounts

\'nur Amount
Prico Dlscounis ¥ou Pny

 

 

 

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Selvice
Subtoiai '_ -$22.00
Discounts This iVlonth . -$57.00

D|scountshavobeen applied to theTolelDuo shownon pagei.

.Flos‘Fast Facts

Tes_t Your lnternet Speed

Put your Flos lnternet connection
to the tesil Learn about the speed
range 01 your Fios service by
visiting ver|zon.com/ `
checkyourspeed.

 

How can | mel_te a payment arra ngement?

. Pieasev|siius alverizan.comlb|ilpay end se|eet!PnymentArrangcment' _

under'PeymentAcl|ons'. , '

thre dol find F|os Dlglta| anr.e options on my FiosTV?
- From the FiosTVMain Monu. ci|ckon"Fios Dig|talVoice’ nnd"OK"
-Viewyour ceilings nndiisten tovoicemai| messages

- Enable features like CallerlD on `,fV Simuiteneous Ring. CaiiForv)ard|ng,
incoming Ca|i Biook and Do Not Disturb

' Refer to youruscrguicle iordotails atvertzon.com/iiosvoicojuscrguida

Optimize speed -,

GetiasterWl-Fispeadsandrnaxlmize
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TVdiscounteltpires Slidll&intornct
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TV discount expires 8/14/|6.

AccuWeather

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ReaiFeoi@ cooperatch and other local
andregionai updates.Pius new
MlnuteCast°. a mimte-by-minuto
precipitation forecast for key local
landmarks Ttme to channel Bl§inHD or
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Whatar_e the Taxes, Surchargos. and
Fees on mybi|i?

Your bill includes led eral. state and local
taxes governmental surcharges andfees
as\velies Verizon surcharges and fees.
These charges vory¢!ependlngunwhat
products end services you havound in
which slate you usolltese products and
services For morelnror matlon ga to
verizon. com and type 'taxas and charges'
in the search box,

seem `160903521

Case 2:16-cV-05672-I\/|SG Document 1 Filed 10/31/16 Page 79 0180

a

CHR|STOPHER KELLV l Ge|. answers last

Prirnery Phonet 215~8‘|9-2730 - Cl|ck tochei el verizen.coml|ivez\gent
A_ccounrNumhw= 454-026-985-0001~78 - call lmo.verlzon tr.eoo.ear.4oes)
B‘"D*“°‘ F°b"ua"y 15‘2015 - -- Cusiomers\`mtil disabilltloscail

l.BOO.S`M.BOOS {voico er 'i_’TY)

Detaiis of Current Charges
|nch.tdes discounts shown on page 2.

Yourmonthiy price alter thedisoounts
shown on page 2 were applicd.

 

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Bundie Pr|co $B9. 99 2/19- 3/18
- - .. . . . v ~ Equ|pmentond additional services to
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Taxes, Gevernmental Fees & Surcherges vlsltver|zen.cem/texmendiees. '
PA State and Locai Saies Tax 4.99
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E911 1,65
Verizon Surcharges & Fees _
Federal unwersalservlce Fee see `
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Reguiatory Rooovery Fee - Federal .08
Franchise Related Cosls 1.50
Regional Sports Network Fee 2.42
FDV Administreiive Charge .99
Sublotal $20.13
Total Due $135.69

E£§l£edrki): 16090352\

Case 2:16-cV-05672-I\/|SG Doc'ument 1 Filed 10/31/16 Page 80 of 80

CHR|STOPHERKELLV
PrimaryPhnne: 215-8119-2730

AccountNurnbet: 454-026-986-0_00|-78

Blll Datct Fcbruury18. 20‘|6

Cl_.rstomer Notices

Customer Proprietary Network information (CPNI)
'Notice for Resldentlai, Small a_nd Modium Business
Customors

Cl’N| is|nformatlon that relates to tile type quantity,

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services you currently purchase from ua. Verizon offers a lull
range ofservit:es such as video, utmtoss. |nlernct, andiong
distance Vtsit vertzoncom fera complete listing or our
sen/tcosandccmpan|os.

Fer residential sma|land medium businesscustemers. you
may altman nattohave yourCPi\ll used for ma dooling
purposes described above byceiiirlgtrsanytimo at

l BEB~t 83-9700. thnym.r call, please have your billalld
account number evelahie. Yourded:r|arral.lout use uiy'our
CPNt deesn'taffect uurpmvishn oiscnlices toyou nor
eliminate ali Verizon marketing contacts

Unlan you call us at ute number abnvo.\l‘erlxml may usa your
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E|ectronic Fund Transrer (EFi')

Payinghydtet:k auularizas us to process your cheek arose
tha l:il colt information lora ono~iimo El-'T from your bank
account Verizon mayretldn tile klronnat|-on to so nd you
Eiet‘.‘trorlic refmtds crombie your future eicl:trorld: payments
to us ityou do notwanti!arizon to retain your bank
hformailm can 1-888~500-5358.

Service Provlders
Verizon PA provtttas regional,iocai ceiling and related features
otharvolceservtcos. and F|os `rv sorvlt:o. unless otherwise
indicated Verizon Long Distance provides tong distance
ceillng_ond other servicesl:tentiitod by "Vi.D" in tile applicable

' billed line ltem. Verizon Onilno provides internal servicoand
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Locol Frant:hlsa Authority- -Fios `i'-V

Cityol`Ph||a th Hali, idDDJFK Bivd. Dilroi' Tech. Cablc`lV
t.in|t. an`tOZ,l-ltlila P.-'\ tElltJ'i. 215 685 2934, ¥our FCC
ColnmunityiD S: PA3925 .

Specia|_ Servi ces _

Cerrespondenca `

Go to verlzon.com/centecrus or mail to PO Bo)t 5156. Tampa
FL 33675.

C|oscd Ceptioning Q`ucstions end Co nc erns?

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program please coil Verizon ati. BOO. VERIZON. Wtitten
corresporlie nce cert hose nti:ry felt to I.Btli.i. finti. 7026, by
cma'l| tovitloot:ios odcaption@ver|.lron.cam.or i.ly mail to

varizort PO Bax 5166. Tampa. FL 3381'5 Attn:Catinne Tumey.
Maneger.

Bankruptcy information

ii you arcor were in baniu'uptcy.th'ls bill may include amounts
for pre- barlknrptcy service You should not pay
pra-bankruptcy mrs they arc for yourlniormation onry.
Mail bankrupt related correspondence ta 590 Tad'tnotagy
Dri'\lel Suite 53 Waidon Spring.lv'iO 63304.

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